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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                                 Chapter 11

MIDTOWN CAMPUS PROPERTIES, LLC,                                        Case No. 20-15173-RAM

            Debtor.
___________________________________/

SUMMARY OF FIRST POST-EFFECTIVE DATE APPLCATION FOR ALLOWANCE
AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
 BRADFORD T. WILLARD, ESQ. AND THE LAW FIRM OF AVERA & SMITH, LLP
   AS SPECIAL LITIGATION COUNSEL FOR THE REORGANIZED DEBTOR

    1. Name of Applicant:                                     Avera & Smith, LLP

    2. Role of Applicant:                                     Special Litigation Counsel for the
                                                              Reorganized Debtor

    3. Name of Certifying Professional:                       Bradford T. Willard, Esq.

    4. Date Case Filed:                                       May 8, 2020

    5. Date of Retention Order:

    6. Period for this Application:                           May 2, 2022 through June 30, 2022

    7. Amount of Compensation Sought:                         $10,515.00

    8. Amount of Expense Reimbursement:                       $726.28

    9. Total Amount of Compensation Sought
       During Case                                            N/A

    10. Total Amount of Expense Reimbursement
        Sought During Case                                    N/A

    11. Amount of Original Retainer:                          N/A

    12. Current Balance in GJB Trust Account:                 $3,118,853.56 (“Available Cash”) 1

1
  Included in the GJB Trust Balance is $2,333,869.79 reserved for Class 3 Disputed Secured Claims. Separately, there
is $1,393,319 on deposit with Fidelity National Title Insurance Company as Escrow Agent.
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13. Current Balance in DIP Account(s):
    DIP Account                                    $128,775.53
    DIP Operating Account                          $636,186.25
    DIP Tax Account                                $100.00

14. Post-Confirmation Quarterly Report filed : May 31, 2022 [ECF No.679]

15. If case is Chapter 11, current funds in
    Chapter 11 estate:                             N/A

16. If case is Chapter 7, current funds held       N/A
    by Chapter 7 trustee:




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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                      Chapter 11

MIDTOWN CAMPUS PROPERTIES, LLC,                             Case No. 20-15173-RAM

            Debtor.
___________________________________/

    FIRST POST-EFFECTIVE DATE APPLICATION FOR ALLOWANCE AND
    PAYMENT OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
 FOR BRADFORD T. WILLARD, ESQ. AND THE LAW FIRM OF AVERA & SMITH,
  LLP AS SPECIAL LITIGATION COUNSEL FOR THE REORGANIZED DEBTOR

         AVERA & SMITH, LLP (“Applicant” or “A&S”), as special litigation counsel for

Midtown Campus Properties, LLC (the “Reorganized Debtor”), seeks approval and allowance of

its fees and costs incurred from and after the Effective Date of the Plan for the period from May

2, 2022 through June 30, 2022 (the “Application Period”). This Application is filed pursuant to

11 U.S.C. § 330 and Rule 2016, Federal Rule of Bankruptcy Procedure, and the requirements set

forth in the Guidelines incorporated in Local Rule 2016-1(B). The exhibits attached to this

Application, pursuant to the Guidelines, are:

         Exhibits “1-A” and “1-B”- Summary of Professional and Paraprofessional Time.

         Exhibit “2” - Summary of Requested Reimbursements of Expenses.

         Exhibit “3” - A&S’ complete time records, in chronological order, by activity
                       code category, for the time period covered by this Application. The
                       requested fees are itemized to the tenth of an hour.

         Exhibit “4” - Fee Application Summary Chart.




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I.     POST CONFIRMATION COMPENSATION AND REIMBURSEMENT OF
       EXPENSES

       1.     On November 7, 2021, the Debtor filed its Second Amended Plan of

Reorganization [ECF No. 516] and the Second Amended Disclosure Statement [ECF No. 517].

On November 10, 2021, the Court entered its Order Approving the Second Amended Disclosure

Statement [ECF No. 521].

       2.     On December 21, 2021 (the “Confirmation Date”), the United States Bankruptcy

Court for the Southern District of Florida entered its Order Confirming Second Amended Chapter

11 Plan of Reorganization Proposed by Midtown Campus Properties, LLC as Modified [ECF No.

647] (the “Confirmation Order”) in the above-captioned Chapter 11 case confirming the Debtor’s

Second Amended Chapter 11 Plan of Reorganization Proposed by Midtown Campus Properties,

LLC [ECF No. 516] (the “Second Amended Plan”) as modified by the Debtor’s Expedited Motion

(I) To Modify Second filed by the Debtor Amended Chapter 11 Plan of Reorganization, and (II)

For Related Relief (the “Motion to Modify”) [ECF No. 606].

       3.     The Confirmation Order provides, in pertinent part, as follows:


       13. Professional Claims. The Debtor shall pay the Allowed Professional Claims of each
       Professional from Available Cash in accordance with the Orders of the Bankruptcy Court.
       From and after the Confirmation Date until the Effective Date, the Debtor, in the ordinary
       course of business and without the necessity for any approval by the Bankruptcy Court,
       shall be permitted to pay the reasonable fees and necessary and documented expenses of
       the Professionals during such period. From and after the Effective Date, the Debtor
       shall be permitted to pay from Available Cash all Professional Claims incurred from
       and after the Effective Date in accordance with Orders of the Bankruptcy Court, after
       the filing of an appropriate application or motion and a hearing thereon; provided
       that such Professional Claims may not be paid from the funds in the Disputed Claims
       Reserve set aside for the Class 3 Disputed Claims unless and until all such Class 3
       Disputed Claims are settled or resolved.

Confirmation Order [ECF No. 647] pg. 28, ¶13 (emphasis added).

       4.     On December 23, 2021 (the “Effective Date”), all of the conditions precedent to the



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occurrence of the Effective Date under the Second Amended Plan were satisfied. In connection

therewith, on December 29, 2021 the Debtor filed the Notice of Occurrence of Effective Date of

the Plan [ECF No. 651]. On January 25, 2022, the Debtor filed Debtor’s Notice of Additional

Fees and Reimbursement of Expenses Incurred by Genovese Joblove & Battista, P.A. Prior To

The Second Amended Plan’s Effective Date [ECF No. 652] giving notice of all fees and expenses

incurred for the period December 11, 2021 through and including December 23, 2021 (the “Pre-

Effective Date Period”).

       5.     The Confirmation Order further provides as follows:

       Notwithstanding anything in the Second Amended Plan to the contrary, the Debtor and the
       Reorganized Debtor shall be entitled to use the remaining Available Cash (after payment
       of and/orthat the Debtor and the Reorganized Debtor shall be entitled to use the remaining
       Available Cash (after payment of and/or reserve as applicable for the amounts set forth
       above) for the payment of (i) any remaining pre and post-closing obligations related to the
       Project, the Purchase Agreement and/or the Sale Order, (ii) post-Effective Date U.S.
       Trustee fees, and (ii) post-Effective Date Professional Claims.

Confirmation Order [ECF No. 647] pg. 27, ¶12 (emphasis added).

       6.     Based on the foregoing, A&S’ compensation is conditioned on approval by this

Court. Accordingly, A&S submits this Application for approval of professional fees and expenses

incurred during the Application Period. A&S seeks hereunder award of $10,515.00 in fees, plus

reimbursement of expenses in the amount of $726.28, for a total final award $11,241.28. Pursuant

to the terms of the confirmed Second Amended Plan and Confirmation Order, professional fees

may be paid from Available Cash.

       7.     As outlined herein above, the Reorganized Debtor has sufficient Available Cash to

pay the amounts requested in this Application and those of other professionals. Applicant submits

that the requested fee in the amount of $10,515.00 for 27.10 hours worked is reasonable

considering the nature, extent, and the value of such services, taking into account all relevant




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factors enumerated in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Circuit 1974),

made applicable to bankruptcy proceedings by In re First Colonial Corp. of America, 554 F.2d

1291 (5th Circuit 1977). First Colonial remains applicable in the Eleventh Circuit to the

determination of reasonableness of fees to be awarded under the Bankruptcy Code. Grant v.

George Schuman Tire & Battery Company, 908 F.2d 874 (11th Cir. 1990); 2 Collier on Bankruptcy

¶ 330.05[2][a] at 330-33 through 330-37 (L. King 15th ed. 1991); See also Bonner v. City of

Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981). First Colonial, 544 F.2d at 1298-99. The relevant

factors enumerated in Johnson are as follows:

II.        EVALUATION OF SERVICES RENDERED:
           FIRST COLONIAL CONSIDERATIONS

           8.    During the Application Period, A&S performed a number of legal services, which

were necessary to effectively represent the Reorganized Debtor in connection with its claims

against Sauer Incorporated (“Sauer”) in the State Court Actions (as defined below) pending in

Alachua County. The specific services rendered by A&S during the Application Period are

detailed in the firm’s billing records attached hereto as Exhibit “3”. A&S also has spent time on

miscellaneous matters, which have arisen to date in the course of its representation of the

Reorganized Debtor. Specifically, A&S has worked on advancing the Reorganized Debtor’s

claims against Sauer.

      A.         The State Court Case Filed by Sauer in Alachua County, Florida

           9.    On January 18, 2021, Sauer filed a Complaint in the State Court Action in the

Circuit Court of the Eighth Judicial Circuit in and for Alachua County, Florida, Case No. 2021

CA 000076 (the “Sauer Case”) against Roger Development Group, Inc., (“Roger Development”),

and RDG Midtown, LLC (“RDG”) which seeks affirmative recoveries against the Reorganized

Debtor and related parties.



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        10.    In connection with the foregoing, Sauer and Midtown, and non-debtors Roger

Development and RDG participated in a Mediation conference before Bruce G. Alexander on

February 21, 2022, which concluded in an impasse [ECF No. 663].

        11.    On April 11, 2022, the Court entered the Order Denying Debtor’s Motion for

Further Extension of Temporary Injunction as to State Court Action filed by Sauer Incorporated

[ECF No. 676] and Order Confirming Expiration of Temporary Injunction as to Alachua County

Action Against Non-Debtor Third Parties [ECF No. 677].             In light of the foregoing, the

Reorganized Debtor was forced to retain counsel to defend the Sauer Case. On April 11, 2022,

the Applicant filed its Notice of Appearance in the Sauer Case and commenced a separate action

against Sauer as described in more detail below.

   B.          The State Court Action filed by the Reorganized Debtor in Alachua County,
               Florida.
        12.    On April 8, 2022, the Applicant filed a Complaint on behalf of the Reorganized

Debtor against Sauer in the Circuit Court of the Eighth Judicial Circuit in and for Alachua County,

Florida, Case No. 2021 CA 001069 (the “Midtown Case” together with the Sauer Case

collectively referred to as the “State Court Actions”).

        13.    On April 18, 2022, Sauer filed its Amended Motion to Lift Stay and Filing of

Amended Complaint. On May 12, 2022, Applicant filed a Motion to Intervene and Response and

Memorandum in Opposition to Sauer’s Amended Motion to Lift Stay and Filing of Amended

Complaint and Motion to Consolidate. On May 18, 2022, Sauer filed its Reply to Response and

Memorandum in Opposition to Sauer’s Amended Motion to Lift Stay and Filing of Amended

Complaint and Motion to Consolidate.

        14.    On June 9, 2022, the state court entered its Order Granting, in Part, Plaintiff Sauer

Incorporated’s Amended Motion to Lift Stay and Filing of Amended Complaint and Granting, in



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Part, Plaintiff’s Motion to Consolidate; thereby consolidating the Sauer Case with the Midtown

Case.

        15.    On June 27, 2022, Sauer filed its Amended Complaint against Roger Development

and RDG. On July 18, 2022, the Applicant filed a Motion to Dismiss Amended Complaint and

Incorporated Memorandum of Law on behalf of the Reorganized Debtor. To date, the state court

has not held a hearing or entered an order on the motion to dismiss.

        16.    This Application presents the nature and extent of the professional services

rendered by the Applicant in connection with its representation of the Reorganized Debtor in the

State Court Actions. The recitals set forth in the daily diaries attached hereto constitute only a

summary of the time spent. A mere reading of the time summary annexed hereto cannot completely

reflect the full range of services the Applicant rendered and the complexity of the issues and the

pressures of time and performance which have been placed on the Applicant in connection with

this case.

        17.    Based on the standards set forth in Section 330 of the Bankruptcy Code and First

Colonial, the Applicant believes that the fair and reasonable value of its services rendered during

the period covered by this Application in the amount of $10,515.00 in fees, plus reimbursement of

expenses in the amount of $726.28, for a total final award $11,241.28.


        A.     Time, Nature and Extent of Services Rendered, Results Obtained and Related
               First Colonial Factors

        18.    The foregoing summary, together with the exhibits attached hereto, details the time,

nature and extent of the professional services the Applicant rendered for the benefit of the

Reorganized Debtor during the period covered by this Application. The total number of hours

expended (27.10). The average hourly rate for the Applicant during the period covered by this

Application is approximately $388.00.


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       B.      Novelty and Difficulty of Questions Presented

       19.     This case presents certain novel and difficult issues that exceed a typical

construction-related dispute.

       C.      Skill Requisite to Perform Services Properly

       20.     In rendering services to the Reorganized Debtor, Applicant demonstrated

substantial skills and expertise in the areas of construction dispute resolution and litigation.

       D.     Preclusion from Other Employment Due to Acceptance of Case

       21.     The Applicant’s representation in this case did not preclude it from accepting other

employment.

       E.      Customary Fee

       22.     The hourly rates of the Applicant set forth in the attached exhibits reflect the hourly

rates the Applicant bills to its clients in other similar cases. The Court has approved these rates.

       F.      Whether Fee is Fixed or Contingent

       23.     The Applicant’s compensation in this matter is subject to approval of the Court and

therefore contingent. The Court should consider this factor, which militates in favor of a fee in

the amount requested. The amount requested is consistent with the fee, which the Applicant would

charge its clients in other non-contingent, construction cases.

       G.     Time Limitations Imposed by Client or Other Circumstances

       24.     The circumstances of this case periodically imposed time constraints on the

Applicant due to the necessity for rapid resolution of significant issues.

       H.     Experience, Reputation and Ability of Attorneys

       25.     A&S is experienced in matters of this kind and is well known and respected in the field.

       I.    “Undesirability” of Case




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       26.     This case is not undesirable. The Applicant is privileged to have the opportunity to

represent the Reorganized Debtor and appear before the Court in this proceeding.

       J.      Awards in Similar Cases

       27.     The amount requested by the Applicant is reasonable in terms of awards in cases of

similar magnitude and complexity. The compensation which the Applicant requests comports with

the mandate of the Bankruptcy Code, which directs that services be evaluated in light of comparable

services performed in non-bankruptcy cases in the community. The fees requested by the Applicant

reflect an average hourly rate of approximately $388.00. Considering the results obtained in light of

the contingent nature of the Applicant’s employment, the infrequency of payment, and the

complexity of the issues addressed during the periods covered by this Application, this rate is entirely

appropriate. Likewise, as with all law firms, the Applicant’s overhead expenses are absorbed in the

hourly rate. A large portion of any fee which the Court awards the Applicant will merely defray

such significant overhead expenses already incurred and paid during the pendency of this case.

VIII. CONCLUSION

       28.     A&S provided valuable services to the Reorganized Debtor in this case. For this reason

and all of the reasons set forth in this Application, A&S seeks a final award of $10,515.00 in fees for

services rendered and $726.28 for reimbursement of expenses incurred during the Application Period.

       WHEREFORE, the Applicant, Avera & Smith, LLP respectfully requests the entry of an

Order awarding the Applicant its fees and costs in the amount of $11,241.28, representing

$10,515.00 in fees and $726.28, in expenses during the Application Period and granting such other

and further relief as the Court deems appropriate.

       Respectfully submitted on this 4th day of August 2022.

                                               Respectfully Submitted,




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                                AVERA & SMITH, LLP
                                Special Litigation Counsel for Reorganized
                                Debtor
                                2814 S.W. 13th Street
                                Gainesville, FL 32608
                                Telephone: 352.372.9999

                                By:    /s/ Bradford T. Willard
                                       Bradford T. Willard, Esq.
                                       Florida Bar No. 62827
                                       bwillard@avera.com

                                GENOVESE JOBLOVE & BATTISTA, P.A.
                                Counsel for Reorganized Debtor
                                100 Southeast Second Street, Suite 4400
                                Miami, Florida 33131
                                Telephone: (305) 349-2300

                                By: /s/ Mariaelena Gayo-Guitian
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                                        Florida Bar No. 13192
                                        hharmon@gjb-law.com




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Application was served

via CM/ECF Notification and/or U.S. Mail to all parties on the attached service list on this 4th day

of August 2022.

                                              By: /s/ Mariaelena Gayo-Guitian
                                                     Mariaelena Gayo-Guitian, Esq.




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                                      SERVICE LIST

Via CM/ECF Notification

Alberta L. Adams on behalf of Creditor FCCI Insurance Company
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Henry H Bolz on behalf of Creditor CASL Holdings LLC
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Gregory S Martin, Esq on behalf of Counter-Defendant Sauer, Incorporated
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Patrick M Mosley, Esq. on behalf of Creditor American Structural Concrete LLC f/k/a Southern
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Jimmy D. Parrish on behalf of Interested Party St. Augustine Parish Land, LLC
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Michael S Provenzale on behalf of Creditor WAYNE AUTOMATIC FIRE SPRINKLERS INC.
michael.provenzale@lowndes-law.com, anne.fisher@lowndes-law.com

Dana Lee Robbins on behalf of Creditor U.S. Bank National Association, as Trustee under Trust
Indenture dated January 1, 2019, Florida Development Finance Corporation
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William H. Strop, Jr. on behalf of Defendant Midtown Campus Properties, LLC
wstrop@beckerlawyers.com, storres@beckerlawyers.com

Jesse E Summers on behalf of Creditor U.S. Bank National Association, as Trustee under Trust



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Indenture dated January 1, 2019, Florida Development Finance Corporation
esummers@burr.com, sguest@burr.com

Jesse E Summers on behalf of Defendant U.S. Bank, National Association, as Indenture Trustee
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Christina Vilaboa-Abel on behalf of Creditor 305 Power Corp
eservice@cavalegal.com

Callie Elizabeth Waers on behalf of Plaintiff Sauer, Incorporated
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Via U.S. Mail

To all parties on the attached mailing matrix

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Gainesville Regional Utilities

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POLSINELLI PC
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Wilmington, DE 19801




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                                       CERTIFICATION

       1.       I have been designated by Avera & Smith, LLP, (the “Applicant”) as the
professional with responsibility in this case for compliance with the current Mandatory Guidelines
on Fees and Disbursements For Professionals In The Southern District of Florida Bankruptcy
Cases (the “Guidelines”).
       2.       I have read the Applicant’s application for compensation and reimbursement of
expenses (the “Application”). The application complies with the Guidelines, and the fees and
expenses sought fall within the Guidelines, except as specifically noted in this certification and
described in the application.
       3.       The fees and expenses sought are billed at rates and in accordance with practices
customarily employed by the Applicant and generally accepted by the Applicant’s clients.
       4.       In seeking reimbursement for the expenditures described on Exhibit 2, the
Applicant is seeking reimbursement only for the actual expenditure and has not marked up the
actual cost to provide a profit or to recover the amortized cost of investment in staff time or
equipment or capital outlay (except to the extent that the Applicant has elected to charge for in-
house photocopies and outgoing facsimile transmissions at the maximum rates permitted by the
Guidelines).
       5.       In seeking reimbursement for any service provided by a third party, the Applicant
is seeking reimbursement only for the amount actually paid by the Applicant to the third party.
       6.       The following are the variances with the provisions of the Guidelines, the date of
each court order approving the variance, and the justification for the variance: None
       Dated: August 4, 2022.

                                             AVERA & SMITH, LLP
                                             Special Litigation Counsel to Reorganized Debtor

                                             By: /s/ Bradford T. Willard
                                                     Bradford T. Willard, Esq.
                                                     Florida Bar No. 62827




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                    Summary of Professional and Paraprofessional Time
                        Total per Individual for this Period Only
                                   (EXHIBIT “1-A”)

[If this is a final application, and does not cumulate fee details from prior interim applications,
then a separate Exhibit 1-A showing cumulative time summary from all applications is attached as
well]

 Name                       Partner              Year         Total   Average Fee
                            Associate or         Licensed     Hours   Hourly
                            Paraprofessional                          Rate
 Bradford T. Willard        Partner                    1995   $400.00   25.80     $10,320.00
 Shannon L. Dewey           Paralegal                   N/A   $150.00     1.30       $195.00
 TOTAL                                                                  27.10     $10,515.00

Blended Average Hourly Rate:          $388.00

                        Total Fees:                            $10,515.00




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                                 EXHIBIT “1-B”
    Summary of Professional And Paraprofessional Time By Activity Code Category


ACTIVITY CODE CATEGORY: Case Administration (005)
  NAME                                  RATE            HOURS         TOTAL FEES
  Bradford T. Willard                         $400.00          3.90           $1,560.00
  Shannon L. Dewey                            $150.00          1.30            $195.00
  MATTER TOTAL                                                 5.20           $1,755.00



ACTIVITY CODE CATEGORY: General Litigation (031)
  NAME                                  RATE            HOURS         TOTAL FEES
  Bradford T. Willard                         $400.00         21.90           $8,760.00
  MATTER TOTAL                                                21.90           $8,760.00




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                       Summary of Requested Reimbursement Of Expenses
                                      for this Time Period Only
                                             (EXHIBIT 2)
[If this is a final application which does not cumulate prior interim applications, a separate
summary showing cumulative expenses for all applications is attached as well]

1.     Filing Fees                                                     $445.05

2.     Process Service Fees                                            $0.00

3.     Witness Fees                                                    $0.00

4.     Court Reporter Fees and Transcripts                             $95.00

5.     Lien and Title Searches/UCC Search                              $0.00

6.     Photocopies

               (a) In-house copies                                     $54.25

               (b) Outside copies ($ )                                 $0.00

               (c) Scans                                               $30.25

7.     Postage                                                         $0.00

8.     Overnight Delivery Charges                                      $101.73

9.     Outside Courier/Messenger Services                              $0.00

10.    Long Distance Telephone Charges                                 $0.00

11.    Long Distance Fax Transmissions
       (copies at $1/page)                                             $0.00

12.    Computerized Research                                           $0.00

13.    Out-of-Southern-District-of-Florida Travel
              (a) Transportation                                       $0.00
              (b) Lodging                                              $0.00
              (c) Meals                                                $0.00

14.    Other Permissible Expenses (must specify and justify)
              (a) Data processing and importation                      $0.00
              (b) Data storage charges                                 $0.00




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Total Expense Reimbursement Requested                         $726.28




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                                         EXHIBIT “3”

[The applicant’s complete time records, in chronological order, by activity code category, for the
time period covered by this application. The requested fees are itemized to the tenth of an hour.]




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                                             2814 S.W. 13th Street
                                             Gainesville, FL 32608
                                                352.372.9999

                                                EIN XX-XXXXXXX

                                                                                  Invoice Date:    07.06.2022
  Oscar J. Roger, Jr.                                                          Invoice Number:     18844
  Midtown Campus Properties, LLC                                               Invoice Amount:     $11,241.28
  782 N.W. 42nd Avenue, Suite 550
  Miami, FL 33126
  USA



 6545-27220126
 Midtown Campus Properties, LLC


PROFESSIONAL SERVICES RENDERED
05.03.22   BTW Review prior pleadings in Alachua County Case No. 2021CA76; Analyze        2.60    400.00 1,040.00
               same; Research and Draft Motion to Intervene and Response to
               Amended Motion to Lift Stay.
05.04.22   BTW Continue draft and review and revision of Motion to Intervene and          1.50    400.00   600.00
               Response to Motion to Lift Stay; Continued review of prior pleadings
               from Alachua County Case No. 2021CA76 and file.
05.05.22   SLD Review email from opposing counsel's office re adding motion to            0.20    150.00    30.00
               consolidate to already scheduled hearing on May 24 and respond re
               same.
05.06.22   BTW Review and analysis of Motion to Dismiss in 2022CA1069; Draft              1.80    400.00   720.00
               revisisions to Motion to Intervene to address Motion to Consolidate;
               Draft email to clients and attorney team updating them re filings; Email
               to Bill Strop and Aaron Pruss transmitting draft Motion to Intervene;
               Phone conference with Oscar Roger re same.
05.09.22   BTW E-mail to Bill Strop and Aaron Pruss re conferring; Telephone              3.20    400.00 1,280.00
               conference with Bill Strop and Aaron Pruss re strategy; Review and
               revisions to Motion to Intervene; Draft response to Motion to Lift Stay
               on behalf of Roger Development and RDG; Review and revise same;
               Email to clients and co-counsel transmitting draft responses.
05.10.22   BTW Telephone Conference with Oscar Roger and Oscar Roger Jr. re               2.10    400.00   840.00
               responses to Motions to Lift Stay; Receive and review proposed
               revisions to Motion to Intervene from Aaron Pruss and research re
               same.
05.11.22   BTW Review and revise, per Aaron Pruss's proposed revisions, Midtown's         2.90    400.00 1,160.00
               Motion to Intervene; Legal research re same; Organize for filing and for
               delivery of case law packets to Judge Keim; Review Oscar Roger's
               proposed revisions.
05.12.22   BTW Telephone Conference with Oscar Roger, Oscar Roger Jr, Bill Strop, and     1.30    400.00   520.00
               Aaron Pruss; Prepare for same.
05.12.22   SLD Prepare Motion, Response, Memorandum and case law for Judge Keim           0.40    150.00    60.00
               for hearing scheduled on May 24.
05.12.22   SLD Preparation of Letter to Judge Keim re response, memorandum and            0.20    150.00    30.00
               case law for hearing.
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05.13.22   BTW Receive and review filing from Sauer re consent to withdraw Waers.          0.10   400.00    40.00
05.17.22   BTW Review order on motion to withdraw.                                         0.10   400.00    40.00
05.18.22   BTW Prepare for hearing on pending motions; Review and analysis of reply        0.80   400.00   320.00
               filed by Sauer.
05.20.22   BTW Telephone Conference with Oscar Roger; Email to Bill Strop and Aaron        0.90   400.00   360.00
               Pruss re coordimating on hearing strategy.
05.20.22   SLD Organize and bookmark motions and case law for BTW for zoom                 0.50   150.00      75.00
               hearing.
05.22.22   BTW Research PA law as it pertains to converting a PA profit corporation to a   0.80   400.00   320.00
               foreign (FL) LLC; Analysis of same.
05.23.22   BTW Telephone conference with Bill Strop and Aaron Pruss in advance of          3.10   400.00 1,240.00
               hearing on Motion to Lift Stay and Motion to Consolidate; Telephone
               conference with Bill Strop, Aaron Pruss, Oscar Roger, and Oscar Roger
               Jr re same; Prepare for hearing; Review file and motions, along with
               case law in preparation of same; Draft outline for argument; Receive
               and review case-related email correspondence.
05.24.22   BTW Prepare for and attend hearing on Motion to Lift Stay and Motion to         1.60   400.00   640.00
               Consolidate; Phone conference with Bill Strop and clients re same.
05.25.22   BTW Review proposed order from Frank Hild; Telephone conference with            0.40   400.00   160.00
               Frank Hild.
05.26.22   BTW E-mail correspondence with JA re proposed order; Receive and review         0.80   400.00   320.00
               correspondence from Frank Hild; Draft revisions to proposed order;
               Telephone conference with Bill Strop re proposed revisions to order;
               Email correspondence re same; Follow up emails re same; Receive and
               brief review of privileged communications re creditor positioning.
06.06.22   BTW Receive and review email correspondence related to order on pending         0.20   400.00      80.00
               motions.
06.09.22   BTW Receive and review entered order.                                           0.10   400.00      40.00
06.15.22   BTW E-mail correspondence with Bill Strop and Aaron Pruss re status of          0.20   400.00      80.00
               case; Review file and Order in connection with same.
06.15.22   BTW Telephone Conference with Bill Strop; Lengthy telephone conference          1.30   400.00   520.00
               with Oscar Roger re strategy.
                                          TOTAL PROFESSIONAL SERVICES RENDERED:                       10,515.00


TIMEKEEPER SUMMARY
                 SLD Dewey, Shannon L                         1.30     150.00         195.00
                 BTWWillard, Bradford T                      25.80     400.00      10,320.00


DISBURSEMENTS
 05.02.22           Federal Express; Invoice # 773657072; Overnight Delivery -                                42.61
05.02.22            Federal Express; Invoice # 773657072; Overnight Delivery -                                59.12
05.25.22            Mastercard Payment for Filing Fees                                                     445.05
06.02.22            Scribe Associates, Inc.; Invoice # 238338; Court Reporter                                 95.00
06.02.22            Scribe Associates, Inc.; Invoice # 238338; Court Reporter                              -95.00
06.02.22            Phipps Reporting; Invoice # 238338; Court Reporter                                        95.00
06.30.22            Printing                                                                                  53.50
06.30.22            Scans                                                                                     30.25
06.30.22            Photocopying                                                                               0.75
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                                                 TOTAL DISBURSEMENTS INCURRED:                $726.28



INVOICE SUMMARY


                 Total fees incurred on this invoice                   $10,515.00
                 Total expenses incurred on this invoice                  $726.28
                 TOTAL CURRENT CHARGES                                $11,241.28
                 Net Balance Forward                                        $0.00
                 PLEASE PAY THIS AMOUNT:                              $11,241.28


               PLEASE MAKE YOUR CHECK PAYABLE TO AVERA & SMITH, LLP AND
      PLEASE ALSO INCLUDE THE INVOICE NUMBER WITH YOUR REMITTANCE. THANK YOU.
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                     EXHIBIT “4”

         FEE APPLICATION SUMMARY CHART

  DATE          FEES              COSTS             TOTAL
    6-30-22     $10,515.00            726.28          11,241.28




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